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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND


JOHN DOE,
                Plaintiff,

v.                                                           C.A. NO.: 18-106-JJM-LDA

JOHNSON & WALES UNIVERSITY,
          Defendant.


                       DECLARATION OF ELIZABETH ZMARLICKI

        Elizabeth Zmarlicki, declares, pursuant to 28 U.S.C. § 1746, that the following is true and

correct as of the date of this declaration:

        1.      Since February 2015, I have been employed Johnson & Wales University (“JWU”)

as Assistant Director of Clubs and Organizations.           My job responsibilities include the

administration of JWU’s policies and procedures governing student clubs and organizations,

including their formation, operation and event management.

        2.      Regarding my educational background, in June 2008, I graduated from the

University of Hartford with a Bachelor of Arts in Communications. In May 2010, I graduated

from Central Connecticut State University with a Master of Science in Counseling: Student

Development and Higher Education.

        3.      After completing my graduate studies and before I joined JWU, I was employed at

The Culinary Institute of America as a Senior Coordinator – Student Activities.

        4.      On October 20, 2017, I was one of the three panelists who presided at the student

conduct hearing to address the charges against the individual identified in this matter as John Doe.

Tim Brown and Caitlin Codding were the other panelists. While this was my first instance serving




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as a panelist in case raising sexual misconduct charges, I had received training from JWU to

prepare me for my responsibilities.

       5.      In August, 2017, I attended a three-hour training program on JWU’s student

conduct process presented by Marshall Lancey, Assistant Director of Student Conduct, which

included training on how to conduct objective hearings in sexual misconduct cases.

       6.      I understood from my training that I must fairly consider each case without any

predisposition or bias. I did not understand anything in my training to suggest that I should believe

that a sexual assault occurred merely because a complaint was made or that I should believe one

party to a complaint over the other party based on anything other than the evidence. Contrary to

what John Doe alleges this lawsuit, I was never trained or told by anyone at JWU that a female

complainant almost always tells the truth.

       7.      Before the October 20, 2017 hearing, I did not know either John Doe or the

complainant against him, known in this matter as Mary Smith.

       8.      Consistent with my training, I approached the October 20, 2017, hearing with an

open mind and fully understood that I must base my decision upon the evidence.

       9.      Before the start of the hearing, I reviewed independently the case file reporting the

investigation conducted by JWU’s Campus Safety & Security. I was given a full and adequate

opportunity to review this file.

       10.     During the hearing, Betsy Gray, JWU’s Director of Student Conduct and Programs,

was present as the hearing officer to facilitate the hearing process and guide the panelists and

students through each step. Ms. Gray did not suggest in any way the panel’s formulation of our

decision.

       11.     At the start of the hearing, Ms. Gray gave to each panelist copies of (i) JWU’s

Sexual Assault and Relationship Violence Policy, which states JWU’s definitions of consent and
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sexual assault (JWU 1-4); (ii) JWU’s Prohibited Discrimination and Harassment (including Sexual

Harassment) Policy (JWU 5); (iii) “What is Sexual Harassment?” from the Prohibited

Discrimination and Harassment Policy (JWU 6-7); and (iv) a Title IX guide prepared by JWU’s

Title IX office addressing JWU’s policy definitions of consent and sexual assault and providing

flowcharts for a decisionmaking process (JWU 8-20).

       12.     During the hearing, John Doe sat in one room with his advisor, and Mary Smith sat

in another room with her advisor. Each party was able to hear via a speakerphone connection the

other party’s statements and responses to panelist questions.

       13.     The panel heard opening statements from John Doe and Mary Smith. We met twice

with John Doe and Mary Smith to ask probative questions about their interactions with one another,

particularly regarding two alleged incidents of sexual intercourse in John Doe’s dormitory suite

on separate evenings—one in a bathroom and another in his bedroom. The panel met twice with

each party to ensure that all of our questions were addressed and raise additional inquiries based

upon what we heard from each party. We focused carefully on whether and how each incident

occurred and whether consent was given for either or both of the incidents.

       14.     The panel considered carefully the fact that John Doe and Mary Smith admitted

that they had engaged in consensual sexual intercourse before the two evenings at issue.

       15.     Both students recalled that they were together during two evenings at issue. John

Doe denied that the bathroom incident occurred during the first evening or that he put his hands

around Mary Smith’s neck during either evening. John Doe’s descriptions of the two evenings

were consistently vague, providing few factual details and not articulating how he obtained Mary

Smith’s consent for the bedroom intercourse on the second evening that he acknowledged to have

occurred. Mary Smith articulated specific details describing the bathroom and bedroom incidents

and clearly testified that John Doe did not have her consent for intercourse in the bathroom or to
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engage in intercourse after she withdrew her consent in his bedroom. Mary Smith described that

John Doe placed his hands on her neck during both incidents and how uncomfortable his forceful

conduct made her feel.

       16.     In my careful assessment of the parties’ testimony, I found that Mary Smith was

consistently more credible and responsive than John Doe. I found that the preponderance of the

evidence showed that the incident in the bathroom occurred during the first evening and that Mary

Smith did not consent to this intercourse initiated by John Doe in a forceful manner. I found that

the preponderance of the evidence showed that while consent was initially given at the start of

John Doe and Mary Smith’s interaction in his bedroom during the second evening, Mary Smith

expressly withdrew her consent and that John Doe did not respect her withdrawal of consent and

proceeded with sexual intercourse in a forceful manner.

       17.     Throughout the hearing and despite the panelists’ several inquiries to allow him to

provide more responsive and specific answers, John Doe remained evasive and non-responsive to

the panelists’ questions and was unable to articulate specific facts supporting that he obtained Mary

Smith’s consent.    More than once, he merely stated that she never told him that she was

uncomfortable. By contrast, Mary Smith provided specific information that she did not consent to

either of the two instances of sexual intercourse.

       18.      Promptly after the hearing, the panelists deliberated for a lengthy period of time.

While I cannot recall the precise duration of our deliberations, we carefully examined all of the

record evidence and our credibility assessments of the parties, recognizing the seriousness of the

matter before us. Each of the three panelists participated actively in the deliberations and freely

expressed our viewpoints.     As we deliberated, we focused specifically upon JWU’s policy

definitions of consent, sexual harassment and sexual assault.



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       19.     We concluded unanimously that the preponderance of the evidence showed that the

two incidents of sexual intercourse occurred without Mary Smith’s consent and that John Doe

committed sexual harassment and sexual assault in violation of JWU’s Code of Student Conduct.

       20.     I understand that John Doe alleges in this lawsuit that he was treated unfairly during

the hearing because he is a male, which is untrue given the objective and careful consideration that

the panel gave to the evidence and our decision. I am confident that we fairly presided, examined

each party without any bias or predisposition, and reached the correct decision based upon the

preponderance of the evidence. I attest under oath that I presided and deliberated with an open

and fair mind at all times and that my interactions with the other two panelists convince me that

they did the same.

       I declare under the pains and penalties of perjury that the foregoing is true and correct.

       EXECUTED ON May 15, 2019.


                                                      ______________________________
                                                      Elizabeth Zmarlicki




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